Case 2:14-md-02592-EEF-MBN Document 6474-2 Filed 05/12/17 Page 1 of 4




                       EXHIBIT 1
 Case 2:14-md-02592-EEF-MBN Document 6474-2 Filed 05/12/17 Page 2 of 4


                                                                    Page 78
                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO                *
(RIVAROXABAN) PRODUCTS        *
LIABILITY LITIGATION          *
                              *
THIS DOCUMENT RELATES TO:     *   Docket No.: 14-MD-2592
                              *   Section "L"
Joseph J. Boudreaux, Jr.      *   New Orleans, Louisiana
v. Janssen Research &         *   April 24, 2017
Development, et. al.,         *
Case No.: 14-CV-2720          *
* * * * * * * * * * * * * * * *
                  VOLUME I - AFTERNOON SESSION
        TRANSCRIPT OF BELLWETHER JURY TRIAL PROCEEDINGS
              BEFORE THE HONORABLE ELDON E. FALLON
                  UNITED STATES DISTRICT JUDGE

APPEARANCES:

For the Plaintiffs':
Liaison Counsel:                   Levin Papantonio
                                   BY: BRIAN H. BARR, ESQ.
                                   316 South Baylen Street, Suite 600
                                   Pensacola, Florida 32502

                                   Beasley Allen
                                   BY: ANDY BIRCHFIELD, ESQ.
                                   P.O. Box 4160
                                   Montgomery, Alabama 36103

                                   Gainsburg Benjamin David
                                     Meunier & Warshauer
                                   BY: GERALD E. MEUNIER, ESQ.
                                   2800 Energy Centre
                                   1100 Poydras Street
                                   New Orleans, Louisiana 70163

                          OFFICIAL TRANSCRIPT
         Case 2:14-md-02592-EEF-MBN Document 6474-2 Filed 05/12/17 Page 3 of 4

                                                          Page 123                                                           Page 125
 1              That's this case. That's Mr. Boudreaux. He had          1   allegation that plaintiffs make about this PT test, that it's a
 2   atrial fibrillation. And they're saying today it's no secret       2   safety test that we purposely didn't tell anyone about, it
 3   about the PT test. They didn't -- that wasn't kept secret from     3   suggests to you that it was hidden and that no one else studies
 4   them in 2016. And they said in October of 2016 that, as the        4   it. That's just not true.
 5   drug is marketed, as it is today, with the label that contains     5              There are scientists all around the world,
 6   all kinds of warnings that you all will see -- it doesn't say      6   because of the problem of AFib, because it's so common and
 7   do this PT test -- that it is a safe and effective alternative     7   because these drugs are important for many other conditions as
 8   to warfarin. And that's why you'll hear from Dr. Wong and          8   well, they've been studied by people that have nothing to do
 9   Dr. Johnson and others that they choose Xarelto when it's          9   with us. We've done our studying too by independent
10   appropriate for their patients and they choose other NOACs or     10   scientists. There's been articles in published literature.
11   warfarin when that's appropriate.                                 11   And, in fact, even the issue of how to use the PT test has been
12              What's not in dispute in this case is as               12   studied and published.
13   important, because we have all kinds of warnings that this drug   13              And there's folks -- this is another term. We
14   has a bleeding risk because of how it works; right? It's          14   often call medical associations and all the different kinds of
15   trying to stop you from clotting, and so that means you're more   15   doctors the public health community. So those are, you know,
16   likely to continue bleeding or not stop a bleed. And              16   groups of doctors -- let's say the people who are -- all the
17   plaintiffs don't dispute that we do a good job with that          17   doctors who belong to certain societies in their specialty or
18   bleeding warning. It's all over. You're going to see.             18   the FDA, the CDC. And the public health community looks at
19              They don't dispute that, because we chose              19   this because they don't just trust the companies. Right? You
20   once-a-day dosing that you only have to take it once a day.       20   wouldn't want them to do. You would want independent people to
21   They don't have an expert that's going to come in and say         21   look at this.
22   somehow that's, you know, not as safe and twice a day is safer.   22              And just last year, in a journal that has
23              In fact, just show you this board. I'll use it         23   nothing to do with us, the Journal of Thrombosis and Hemostatis
24   again. This I use as another cheat sheet. These are the drugs     24   wrote on this very subject. Here's what they say. It was in
25   that we're going to talk about during this trial.                 25   2016. "Consequently, the use of PT -- APTT is another test,
                      OFFICIAL TRANSCRIPT                                                   OFFICIAL TRANSCRIPT


                                                          Page 124                                                           Page 126
 1           This is warfarin that came out in 19 --                    1   but -- "PT in a clinical practice" -- meaning when you're
 2           That may be a little low. Can you all see that?            2   prescribing to patients -- "to evaluate NOACs" -- all the --
 3           1954, warfarin came out, and it's a once-a-day             3   all of these including Xarelto -- "could cause dangerous
 4   drug.                                                              4   misinterpretations."
 5             Pradaxa was the next one out on the market. So           5              It certainly doesn't call it a safety test, does
 6   we -- I think I heard something -- maybe plaintiffs' lawyers       6   it? It says if you use it this way, the way plaintiffs want
 7   didn't mean to say this, but they suggested that people had no     7   you to use it, which is you put someone on Xarelto and then you
 8   other choice other than warfarin. That's just not true. The        8   run this test right away, that you could misinterpret it
 9   folks that make Pradaxa came out before we did, in 2010. And       9   because you could see this number that they think shows you
10   they have a drug that goes twice a day, has no monitoring.        10   and, you know, predicts exactly what will happen, and it
11             Xarelto, we came out in 2011 with once a day.           11   doesn't. It doesn't.
12             Eliquis, twice a day, in 2012.                          12              So it's not us telling you that this is not the
13             And the most recent one is like ours, once a            13   right test to put in a label for doctors. These are folks who
14   day, and it's called Savaysa.                                     14   specialize in this area, and they say it's not the right test.
15             So these are the options that doctors have.             15              And if it was the right test, don't you think
16   They don't just have can you take Xarelto or prescribe warfarin   16   plaintiffs' own experts would use it on their patients? Right?
17   for people that have atrial fibrillation. They have all these     17   If they thought it was a safety test, these folks care about
18   different choices. And they decide -- not us; we're not in the    18   their patients. Outside this courtroom, you want to know -- I
19   examination room with them. Obviously, we want people to use      19   agree with the plaintiffs' counsel. What do people say outside
20   our drug because we think it's good, but we're not in the         20   the courtroom? I care more what they do. And what do these
21   examination room with them saying, "Pick us over these folks."    21   doctors do outside?
22   And you heard this morning the woman who had a mother who had a   22              Dr. Leissinger, that they say is their doctor
23   problem; her doctor picked Pradaxa. He didn't pick Xarelto and    23   that's going to come in and say this is great? She's going to
24   didn't pick warfarin.                                             24   tell you she doesn't use the test and she's never tested it
25             Now, perhaps the most troubling part of the             25   herself to see if it's even a reliable test.
                    OFFICIAL TRANSCRIPT                                                     OFFICIAL TRANSCRIPT


                                                                                             13 (Pages 123 to 126)
         Case 2:14-md-02592-EEF-MBN Document 6474-2 Filed 05/12/17 Page 4 of 4

                                                      Page 127                                                               Page 129
 1          (WHEREUPON, the video clip was played as follows:)          1   disregard that last statement regarding this witness, and watch
 2          "Q. Your opinions that PT is a readily available            2   them during her testimony. I mean, it's argument. Let's not
 3      test for identifying Xarelto-treated patients, have you         3   get into -- you know, you say what it is, and now you're
 4      published that opinion?                                         4   arguing what -- why she didn't do it, and why she -- that's
 5          "A. I have not.                                             5   argument. That's what it is.
 6          "Q. Have you tested where it's reliable?                    6           MS. WILKINSON: Your Honor, I'll move on, but I
 7          "A. I have not."                                            7   ask -- I didn't say anything improper, and if you suggest that
 8          MS. WILKINSON: So if you thought there was a test           8   I did, that's all I'm worried about.
 9   and you're a doctor who cares about your patients, which I'm       9           THE COURT: Okay.
10   sure she does, if you thought that test would help you            10           MS. WILKINSON: Thank you.
11   determine -- and more importantly, help other doctors determine   11           THE COURT: Thank you.
12   whether someone could be injured on a medication, wouldn't you    12           (WHEREUPON, the following proceedings were held in
13   be yelling about it from the rooftops? Wouldn't you be            13   open court.)
14   publishing it and going to doctor conventions and talking to      14           THE COURT: Okay. Members of the jury, opening
15   the folks who just wrote that other article and saying, "No,      15   statement is what the evidence is to show, not what the
16   you're wrong"?                                                    16   attorney thinks it's going to show or why things are not going
17             Not only does she not publish it, not only has          17   to show. So the latter part of the observation is really
18   she put it a peer-reviewed journal --                             18   argument. That may come in, but it may come in at another
19          MR. BARR: Your Honor, can we approach the bench?           19   stage in the case, in closing argument, not in opening
20          THE COURT: Okay.                                           20   statement.
21          (WHEREUPON, the following proceedings were held at         21              I'll ask counsel to continue on with that, and
22   the bench.)                                                       22   I'll ask you to disregard that -- those comments by counsel.
23          MR. BARR: She can't publish it. She's subject to a         23   Not improper. It's just misplaced at this time.
24   confidentiality order. If she would have published what she       24           MS. WILKINSON: Thank you, Your Honor.
25   knows about this case, they would say she was violating the       25              So Dr. Leissinger is going to tell you that she
                    OFFICIAL TRANSCRIPT                                                      OFFICIAL TRANSCRIPT


                                                      Page 128                                                               Page 130
 1   order.                                                             1   doesn't criticize Dr. Wong for prescribing Xarelto.
 2          THE COURT: Okay. Yeah. Next time we're not using            2              Why is that? You're going to see that Dr. Wong
 3   anything in our opening statement. It's gotten out of hand. I      3   is a very qualified cardiologist. He's a specialist in
 4   asked you all to check with each other, and --                     4   internal medicine, nuclear cardiology, and adult
 5          MS. WILKINSON: We did, your Honor.                          5   echocardiograph.
 6          MR. BIRCHFIELD: It's not the transcript; it's the           6              He treats patients with atrial fibrillation, or
 7   argument that she's making. That she -- if she can she would       7   AFib, all the time. And this is what AFib is. And they'll --
 8   have published it. She would have shouted it from the              8   the doctors will explain it to you better than I can. But the
 9   rooftops. She can't because her hands are tied by the              9   central way that I understand is in a normal heart, your
10   confidentiality --                                                10   electrical system fires and it makes your heart pump. And it
11          THE COURT: Yeah, and opening statement is not              11   starts up at the top, and it pumps the blood through.
12   argument. You both are arguing your case. It's not argument.      12              With AFib, we don't know why it happens, but
13   It's what the evidence is going to show, not what your argument   13   your electrical system kind of goes haywire. And that's why
14   is.                                                               14   people can feel -- feels off and they have a fast heartbeat.
15          MS. WILKINSON: Your Honor, can we take up later this       15   So it doesn't make the heart pump at the right time regularly
16   idea because she talks about the PT test outside of this case.    16   and routinely, and blood pools up there normally at the top of
17   So she's not forbidden from publishing about the PT test. She     17   the heart.
18   can't use the information in this case, but she can publish --    18              That is very dangerous, because when blood pools
19          THE COURT: That's argument.                                19   and you don't have any medication that deals with this, when
20          MS. WILKINSON: I won't go into it now, but . . .           20   blood pools, it clots. Right? Just like if you cut yourself,
21          THE COURT: Okay.                                           21   you know eventually your blood clots when it sits there.
22          MR. BARR: Your Honor, at this point, she's rung the        22              With AFib the danger is not just that you have
23   bell.                                                             23   an irregular heartbeat, but that these clots will travel from
24          MR. MEUNIER: You're going to have --                       24   the heart up to the head, cutting off blood flow to the brain,
25          THE COURT: We'll just have to tell the jury to             25   and someone will have a debilitating stroke. That's why
                    OFFICIAL TRANSCRIPT                                                    OFFICIAL TRANSCRIPT


                                                                                            14 (Pages 127 to 130)
